           Case 2:21-cr-00120-APG-BNW Document 62 Filed 04/16/24 Page 1 of 2
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                                                                             COUNSEL/PARTIES OF RECORD
 1

 2                                                                      April 16, 2024

 3                                                                      CLERK US DISTRICT COURT
                                                                          DISTRICT OF NEVADA
 4                                                                BY:                          DEPUTY


 5

 6                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 7

 8 UNITED STATES OF AMERICA,                         2:21-CR-120-APG-BNW

 9                 Plaintiff,                        Final Order of Forfeiture

10          v.

11 NATHAN CODY BROWN,

12                 Defendant.

13          The United States District Court for the District of Nevada entered a Preliminary
14 Order of Forfeiture under Fed. R. Crim. P. 32.2(b)(1) and (b)(2) and 18 U.S.C. § 2253(a)(1)

15 and 2253(a)(3) based upon the plea of guilty by Nathan Cody Brown to the criminal offense,

16 forfeiting the property set forth in the Plea Agreement and the Forfeiture Allegation of the

17 Criminal Indictment and shown by the United States to have the requisite nexus to the

18 offense to which Nathan Cody Brown pled guilty. Criminal Indictment, ECF No. 1; Plea

19 Agreement, ECF No. 46; Change of Plea, ECF No. 47; Preliminary Order of Forfeiture,

20 ECF No. 48.

21          This Court finds that on the government’s motion, the Court may at any time enter
22 an order of forfeiture or amend an existing order of forfeiture to include subsequently

23 located property or substitute property under Fed. R. Crim. P. 32.2(e) and 32.2(b)(2)(C).

24          This Court finds the United States published the notice of forfeiture in accordance
25 with the law via the official government internet forfeiture site, www.forfeiture.gov,

26 consecutively from September 22, 2023, through October 21, 2023, notifying all potential

27 third parties of their right to petition the Court. Notice of Filing Proof of Publication

28 Exhibits, ECF No. 49-1, p. 5.
           Case 2:21-cr-00120-APG-BNW Document 62 Filed 04/16/24 Page 2 of 2



 1          This Court finds no petition was filed herein by or on behalf of any person or entity

 2   and the time for filing such petitions and claims has expired.

 3          This Court finds no petitions are pending regarding the property named herein and

 4   the time has expired for presenting such petitions.

 5          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that

 6   all possessory rights, ownership rights, and all rights, titles, and interests in the property

 7   hereinafter described are condemned, forfeited, and vested in the United States under Fed.

 8   R. Crim. P. 32.2(b)(4)(A) and (b)(4)(B); Fed. R. Crim. P. 32.2(c)(2); 18 U.S.C. § 2253(a)(1)

 9   and 2253(a)(3); and 21 U.S.C. § 853(n)(7) and shall be disposed of according to law:

10          1.      one HP Pavilion Dv6 Laptop serial no. 2CE2410MYG with a Seagate 750

11                  GB SATA hard drive, model no. ST750LX003, serial no. W200E2KX

12   (all of which constitutes property).

13          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that under Fed. R.

14   Crim. P. 32.2(c) and 21 U.S.C. § 853(n)(7), all possessory rights, ownership rights, and all

15   rights, titles, and interests in the property are extinguished and are not recognized for

16   Nathan Cody Brown and all third parties.

17          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the property

18   shall be disposed of according to law.

19          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Clerk send

20   copies of this Order to all counsel of record.

21                4/16/2024
            DATED _____________________, 2024.

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24                                                ANDREW P. GORDON
                                                  UNITED STATES DISTRICT JUDGE
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